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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


VENUS EDWARDS,                     )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )           2:19cv238-MHT
                                   )                (WO)
ALABAMA DEPARTMENT OF              )
TRANSPORTATION,                    )
                                   )
     Defendant.                    )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United       States        Magistrate        Judge's

recommendation (doc. no. 27) is adopted.

    (2) Defendant's motion to dismiss (doc. no. 22) is

granted.

    (3) This lawsuit is dismissed under Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim

on which relief can be granted.

    It is further ORDERED that costs are taxed against
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plaintiff, for which execution may issue.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil      docket   as    a   final    judgment

pursuant   to   Rule    58   of    the   Federal     Rules   of   Civil

Procedure.

    This case is closed.

    DONE, this the 19th day of October, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
